          Case 2:19-bk-14989-WB                    Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 1 of 63

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Bradley E. Brook (SBN 125323)
 Law Offices of Bradley E. Brook, APC
 10866 Washington Blvd., #108
 Culver City, CA 90232
 Tel: (310) 839-2004
 Fax: (310) 945-0022
 bbrook@bbrooklaw.com




     Individual appearing without attorney
     Attorney for: Ardis Stephens

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:19-bk-14989-WB
 In re SCOOBEEZ, et al.,                                                     CHAPTER: 11
 3463 Foothill Blvd.
 Glendale, CA 91214                                                                 NOTICE OF MOTION AND MOTION FOR
 EID XX-XXXXXXX                                                                     RELIEF FROM THE AUTOMATIC STAY
 Debtors and Debtors in Possession.                                                        UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
 Affects:                                                                          (ACTION IN NONBANKRUPTCY FORUM)
 X All Debtors
 Ƒ Scoobeez, ONLY
                                                                             DATE: 12/03/2019
 Ƒ Scoobeez Global, Inc., ONLY
 Ƒ Scoobur LLC, ONLYScoobeez, Inc.                                           TIME: 10:00 am
                                                                             COURTROOM: 1375
                                                              Debtor(s).

 Movant: Ardis Stephens


1. Hearing Location:
      255 East Temple Street, Los Angeles, CA 90012                                       411 West Fourth Street, Santa Ana, CA 92701
      21041 Burbank Boulevard, Woodland Hills, CA 91367                                   1415 State Street, Santa Barbara, CA 93101
      3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



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June 2014                                                                 Page 1                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000001
          Case 2:19-bk-14989-WB                    Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 2 of 63

4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 10/31/2019                                                              Law Offices of Bradley E. Brook, APC
                                                                                   Printed name of law firm (if applicable)

                                                                                   Bradley E. Brook
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Bradley E. Brook
                                                                                   _____________________________________________
                                                                                   Signature of individual Movant or attorney for Movant




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June 2014                                                                 Page 2                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000002
         Case 2:19-bk-14989-WB                     Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 3 of 63

    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: Ardis Stephens v. Scoobeez, Inc. and Billy Carroll
    b. Docket number: DC-19-10915
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       Dallas County, Texas
    d. Causes of action or claims for relief (Claims):
       Negligence, Gross Negligence, Respondeat Superior

3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12       13
               was filed on (date) 04/30/2019 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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June 2014                                                                 Page 3                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000003
          Case 2:19-bk-14989-WB                    Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 4 of 63

     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.

               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify):



5. Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):



6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):



7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.




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June 2014                                                                 Page 4                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000004
       Case 2:19-bk-14989-WB                       Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 5 of 63

4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
        on the same terms and condition as to the Debtor.

5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
        notice

8.      Other relief requested.



Date: 10/31/2019                                                        Law Offices of Bradley E. Brook, APC
                                                                        Printed name of law firm (if applicable)

                                                                        Bradley E. Brook
                                                                        Printed name of individual Movant or attorney for Movant



                                                                         /s/ Bradley E. Brook
                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




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June 2014                                                                 Page 5                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000005
         Case 2:19-bk-14989-WB                     Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 6 of 63

                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
I, (name of Declarant) Aaron L. Genthe                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action: Ardis Stephens v. Scoobeez, Inc. and Billy Carroll
    b. Docket number: DC-19-10915
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
       Dallas County District Court, Texas

5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:
       Negligence, Gross Negligence, and Respondeat Superior




    b. True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit 1                                      .

    c.   The Nonbankruptcy Action was filed on (date) 08/01/2019 .

    d. Trial or hearing began/is scheduled to begin on (date)                                   .

    e. The trial or hearing is estimated to require                      days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):




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June 2014                                                                 Page 6                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                     000006
         Case 2:19-bk-14989-WB                     Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 7 of 63

    g. Other defendants in the Nonbankruptcy Action are (specify):
            Billy Carroll

. Grounds for relief from stay:

    a.          Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
                enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
                Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
                11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.          Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
                effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
                except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
                complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
    c.          Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
                against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
                are (specify):
                I've been informed the insurance carrier is ESIS and the file number for the matter is 1M01M01042558X. I do
                not know if that is the insurance policy number

    d.          The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
                (1)         It is currently set for trial on (date)                     .
                (2)         It is in advanced stages of discovery and Movant believes that it will be set for trial by
                            (date)               . The basis for this belief is (specify):



                (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                            is the most efficient use of judicial resources.

    e.          The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
                Nonbankruptcy Action.

                (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                            commencement documents.

                (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                            the Nonbankruptcy Action based upon the following facts (specify):




                (3)         Multiple bankruptcy cases affecting the Property include:

                      (A) Case name:
                          Case number:                                     Chapter:
                          Date ILOed:     'ate GLVFKDUJHG:                        Date dismissed:
                          Relief from stay regarding this Nonbankruptcy Action                     was    was not granted.




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June 2014                                                                 Page 7                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000007
          Case 2:19-bk-14989-WB                    Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                                       Desc
                                                    Main Document    Page 8 of 63

                    (B) Case name:
                        Case number:                                        Chapter:
                        Date ILOed: Date GLVFKDUJed:                       Date dismissed:
                        Relief from stay regarding this Nonbankruptcy Action                       was     was not granted.

                    (C) Case name:
                        Case number:                                        Chapter:
                        Date ILOHd: Date GLVFKDUJHd:                       Date dismissed:
                        Relief from stay regarding this Nonbankruptcy Action                       was     was not granted.
                         See attached continuation page for information about other bankruptcy cases affecting the
                         Nonbankruptcy Action.
                         See attached continuation page for additional facts establishing that this case was filed in bad faith.
     f.        See attached continuation page for other facts justifying relief from stay.

.        Actions taken in the Nonbankruptcy Action after the bankruptcy petition was filed are specified in the attached
          supplemental declaration(s).

     a.        These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
               have been entitled to relief from stay to proceed with these actions.
     b.        Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
               with the Nonbankruptcy Action enforcement actions in prior bankruptcy cases affecting the Property as set
               forth in Exhibit ____
     c.        For other facts justifying annulment, see attached continuation page.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  10/31/2019           Aaron L. Genthe                                                   /s/ Aaron L. Genthe
 Date                         Printed name                                                      Signature




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June 2014                                                                 Page 8                                 F 4001-1.RFS.NONBK.MOTION

                                                                                                                                                 000008
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                         Main Document    Page 9 of 63




                                                                                  000009
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 10 of 63




                                                                                  000010
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 11 of 63




                                                                 Exhibit 1


                                                                                  000011
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 12 of 63




                                                                                  000012
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 13 of 63




                                                                                  000013
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 14 of 63




                                                                                  000014
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 15 of 63




                                                                                  000015
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 16 of 63




                                                                                  000016
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 17 of 63




                                                                                  000017
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 18 of 63




                                                                                  000018
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 19 of 63




                                                                                  000019
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 20 of 63




                                                                                  000020
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 21 of 63




                                                                                  000021
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 22 of 63




                                                                                  000022
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 23 of 63




                                                                                  000023
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 24 of 63




                                                                                  000024
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 25 of 63




                                                                                  000025
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 26 of 63




                                                                                  000026
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 27 of 63




                                                                                  000027
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 28 of 63




                                                                                  000028
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 29 of 63




                                                                                  000029
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 30 of 63




                                                                                  000030
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 31 of 63




                                                                                  000031
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 32 of 63




                                                                                  000032
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 33 of 63




                                                                                  000033
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 34 of 63




                                                                                  000034
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 35 of 63




                                                                                  000035
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 36 of 63




                                                                                  000036
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 37 of 63




                                                                                  000037
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 38 of 63




                                                                                  000038
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 39 of 63




                                                                                  000039
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 40 of 63




                                                                                  000040
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 41 of 63




                                                                                  000041
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 42 of 63




                                                                                  000042
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 43 of 63




                                                                                  000043
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 44 of 63




                                                                                  000044
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 45 of 63




                                                                                  000045
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 46 of 63




                                                                                  000046
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 47 of 63




                                                                                  000047
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 48 of 63




                                                                                  000048
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 49 of 63




                                                                                  000049
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 50 of 63




                                                                                  000050
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 51 of 63




                                                                                  000051
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 52 of 63




                                                                                  000052
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 53 of 63




                                                                                  000053
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 54 of 63




                                                                                  000054
Case 2:19-bk-14989-WB   Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21   Desc
                        Main Document    Page 55 of 63




                                                                                  000055
Case 2:19-bk-14989-WB          Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21             Desc
                               Main Document    Page 56 of 63



                                     CAUSE NO. DC-19-10915

ARDIS STEPHENS                                  §        IN THE DISTRICT COURT
                                                §
        Plaintiff,                              §
v.                                              §
                                                §        68th JUDICIAL DISTRICT
SCOOBEEZ, INC. and                              §
BILLY CARROLL                                   §
                                                §
        Defendants.                             §        DALLAS COUNTY, TEXAS


     DEFENDANT, SCOOBEEZ, INC.’S, ORIGINAL ANSWER, SUGGESTION OF
             BANKRUPTCY and NOTICE OF AUTOMATIC STAY

        COME NOW DEFENDANT, SCOOBEEZ, INC., (hereinafter “Defendant”), by and

through its attorney, George “Hal” Parker of the law firm Dewhirst & Dolven, LLC, who files

this Original Answer, Suggestion of Bankruptcy and Notice of Automatic Stay in response to

Plaintiff’s Original Petition, stating as follows:

        The “attorney-in-charge” for purposes of Tex. R. Civ. P. 8, is hereby designated to be

George “Hal” Parker, who is the attorney for Defendant designated to receive communications

from the Court and the other parties in this matter.

                                      I. GENERAL DENIAL

1.      Pursuant to Tex. R. Civ. P. 92, Defendant asserts a general denial and request that

        Plaintiffs be required to prove the charges and allegations against Defendant by a

        preponderance of the evidence.

                                 II. AFFIRMATIVE DEFENSES

2.      Plaintiff’s accident was caused in whole or in part by his own contributory negligence in

        driving too fast for conditions present, failing to slow or stop his vehicle to avoid the




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Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                 Desc
                              Main Document    Page 57 of 63



        collision, and in other acts of negligence in the operation of his motorcycle which may be

        disclosed during discovery in this case.

3.      Plaintiff’s right to recover loss of earnings, loss of earning capacity, or contributions of

        pecuniary value, or loss of inheritance, such recovery is limited to net loss after reduction

        for income tax payments or unpaid tax liability pursuant to any federal income tax law.

4.      Plaintiff’s right to recover medical expenses is limited by the provisions of Tex. Civ.

        Practice and Remedies Code Sec. 41.005.

                                    III. RULE 193.7 NOTICE

        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant hereby gives

notice that all documents produced by Plaintiff will be used in pretrial proceedings and/or at the

trial of this matter.

      IV. SUGGESTION OF BANKRUPTCY and NOTICE OF AUTOMATIC STAY

5.      On April 30, 2019, Defendant, Scoobeez, Inc., filed a Voluntary Petition under Chapter

        11 of the United States Bankruptcy Code in the Central District of California, Case No.

        2:19-bk-14989-WB. (See, Exh. A attached). The case is still ongoing and the Defendant,

        Scoobeez, Inc., has not been closed or discharged.

2.      Pursuant to 11 U.S.C.A. §362(a), et seq., the filing of this bankruptcy action created an

        automatic stay of all actions and claims made against it by the Plaintiff in the above

        styled and numbered cause.

3.      The Plaintiff filed his case against Defendant on August 1, 2019, which was about three

        months after the bankruptcy court’s automatic stay had entered. “This stay arises

        automatically when bankruptcy is filed and is effective whether or not a party learns of it

        prior to acting. That stay remains in effect until the bankruptcy proceeding is concluded or



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Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                 Desc
                              Main Document    Page 58 of 63



       the property is no longer in the estate.” Lawrenson v. Global Marine, Inc., 869 S.W.2d 519

       (Tex. App.-Texarkana 1993). Further, “[w]hen a creditor does not seek relief from a stay

       but attempts to take some action commencing or continuing such a suit, as in the present

       case, the action taken is void, not merely voidable.” Id. “… filing of suit during the

       bankruptcy without the permission of the bankruptcy court, is a nullity.” For this reason,

       the Defendant asks this Court to dismiss the lawsuit filed against it by Plaintiff herein.

                                    PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Court dismiss

the Plaintiff’s Original Petition and all claims made against Defendant and for such other and

further relief to which the Court finds Defendant justly entitled.

Dated this the 18th day of September 2019.

                                                      By:     s/George H. Parker
                                                              George H. “Hal” Parker
                                                              Texas Bar No. 15484020
                                                              gparker@dewhirstdolven.com
                                                              Dewhirst & Dolven, LLC
                                                              5430 LBJ Freeway Ste. 1200
                                                              Dallas, TX 75240
                                                              Telephone: (970) 214-9698
                                                              Attorney for Defendant,
                                                              Scoobeez, Inc.


                                 CERTIFICATE OF SERVICE

       I hereby certify that I have caused a true and correct copy of this pleading to be served
upon Plaintiffs by electronic filing to their attorney of record through the court’s system on this
the 18th day of September 2019.

                                                      By:     s/George H. Parker
                                                              George H. “Hal” Parker




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Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21              Desc
                              Main Document    Page 59 of 63



                                   CAUSE NO. DC-19-10915

ARDIS STEPHENS                                §        IN THE DISTRICT COURT
                                              §
       Plaintiff,                             §
v.                                            §
                                              §        68th JUDICIAL DISTRICT
SCOOBEEZ, INC. and                            §
BILLY CARROLL                                 §
                                              §
       Defendants.                            §        DALLAS COUNTY, TEXAS


              DEFENDANT, BILLY CARROLL’S, ORIGINAL ANSWER and
                          REQUEST FOR DISCLOSURE

       COME NOW DEFENDANT, BILLY CARROLL, (hereinafter “Defendant”), by and

through his attorney, George “Hal” Parker of the law firm Dewhirst & Dolven, LLC, who files

this Original Answer and Request for Disclosure, stating as follows:

       The “attorney-in-charge” for purposes of Tex. R. Civ. P. 8, is hereby designated to be

George “Hal” Parker, who is the attorney for Defendant designated to receive communications

from the Court and the other parties in this matter.

                                     I. GENERAL DENIAL

1.     Pursuant to Tex. R. Civ. P. 92, Defendant asserts a general denial and request that

       Plaintiff be required to prove the charges and allegations against Defendant by a

       preponderance of the evidence.

                                II. AFFIRMATIVE DEFENSES

2.     Plaintiff’s accident was caused in whole or in part by his own contributory negligence in

       driving too fast for conditions present, failing to slow or stop his vehicle to avoid the

       collision, and in other acts of negligence in the operation of his motorcycle which may be

       disclosed during discovery in this case.



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Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                 Desc
                              Main Document    Page 60 of 63



3.      Plaintiff’s right to recover loss of earnings, loss of earning capacity, or contributions of

        pecuniary value, or loss of inheritance, such recovery is limited to net loss after reduction

        for income tax payments or unpaid tax liability pursuant to any federal income tax law.

4.      Plaintiff’s right to recover medical expenses is limited by the provisions of Tex. Civ.

        Practice and Remedies Code Sec. 41.005.

                                    III. RULE 193.7 NOTICE

        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant hereby gives

notice that all documents produced by Plaintiff will be used in pretrial proceedings and/or at the

trial of this matter.

                             IV. REQUEST FOR DISCLOSURES

        Pursuant to Rule 194, you are requested to disclose, within 30 days of service of this

request, the information or material described in Rule 194.2 (a) through (l).

                                     PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final hearing

that Plaintiff takes nothing by his claims; and for such other and further relief to which the Court

finds Defendant justly entitled.

Dated this the 18th day of September 2019.

                                                      By:     s/George H. Parker
                                                              George H. “Hal” Parker
                                                              Texas Bar No. 15484020
                                                              gparker@dewhirstdolven.com
                                                              Dewhirst & Dolven, LLC
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                                                              Dallas, TX 75240
                                                              Telephone: (970) 214-9698
                                                              Attorney for Defendant,
                                                              Billy Carroll




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Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                  Desc
                              Main Document    Page 61 of 63



                                 CERTIFICATE OF SERVICE

       I hereby certify that I have caused a true and correct copy of this pleading to be served
upon Plaintiff by electronic filing to their attorney of record through the court’s system on this the
18th day of September 2019.

                                                      By:     s/George H. Parker
                                                              George H. “Hal” Parker




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 Case 2:19-bk-14989-WB         Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                 Desc
                               Main Document    Page 62 of 63


 1                            PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is: 10866 Washington Blvd. #108, Culver City, CA 90232.
 3
     A true and correct copy of the foregoing document entitled NOTICE OF MOTION AND
 4   MOTION FOR RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 will be
     served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
 5   2(d); and (b) in the manner stated below:
 6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
 7   via NEF and hyperlink to the document. On November 7, 2019, I checked the CMC/ECF docket for
     this bankruptcy case or adversary proceeding and determined that the following persons are on the
 8   Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 9                                                    Service information continued on attached page
10   2. SERVED BY UNITED STATES MAIL:
     On November 7, 2019, I served the following persons and/or entities at the last known addresses in
11   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
     envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
12   judge here constitutes a declaration that mailing to the judge will be completed no later than 24
     hours after the document is filed.
13
                                                      Service information continued on attached page
14
     3.SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
15   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant to
     F.R.Civ.P. 5 and/or controlling LBR, on November 7, 2019, I served the following persons and/or
16   entities by personal delivery, overnight mail service, or (for those who consented in writing to such
     service method), by facsimile transmission and/or email as follows. Listing the judge here
17   constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
     no later than 24 hours after the document is filed.
18
     Via Overnight Mail Service
19   Honorable Julie Brand
     U.S. Bankruptcy Court - Central District of California
20   255 East Temple Street, Suite 13
     Los Angeles, CA 90012
21

22
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
23   correct.
     November 7, 2019           Michael C. Mosher                            /s/ Michael C. Mosher
24          Date                 Printed Name                                       Signature
25

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Case 2:19-bk-14989-WB                4FSWJDF-JTU
                            Doc 424 Filed 11/07/19 Entered 11/07/19 13:16:21                 Desc
                            Main Document     Page 63 of 63

By ECF email:


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